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                          IN THE UNITED STATES DISTRICT COURT
                           FOR THE SOUTHERN DISTRICT OF OHIO
                                    EASTERN DIVISION

  ADRIENNE HOOD,
                                                          Case No. 2:17-cv-471

                           Plaintiff,                     Judge Edmund A. Sargus, Jr.

          v.                                              Magistrate Judge
                                                          Elizabeth A Preston Deavers

  JASON BARE, et al.,
                                                         PLAINTIFF’S MOTION FOR
                                                         SANCTIONS
                           Defendants.


        Plaintiff, Adrienne Hood, by and through her counsel, moves the Court for an Order finding that

Defendants have abused the discovery process by spoliating evidence. Plaintiff further moves the

Court for an order to sanction Defendants and by ordering the submission of a spoliation presumption

instruction to the jury at the time of trial.

INTRODUCTION:

        The imposition of sanctions for spoliation has deep historic roots. See Goodman v. Praxair

Servs., 632 F. Supp. 2d 494, 518 (D. Md. 2009).

                        The law, in hatred of the spoliator, baffles the destroyer, and

                        thwarts his iniquitous purpose, by indulging a presumption which

                        supplies the lost proof, and thus defeats the wrongdoer by the very

                        means he had so confidentially employed to perpetrate the

                        wrongdoing….Indeed, the origin of the doctrine of spoliation is

                        often traced back to the 288-year-old case of Armory v.

                        Delamirie,… “unless the [goldsmith] did produce the jewel, and

                        shew it not to be of the finest water, they should presume the

                        strongest against him.” Id. citing Armory v. Delamirie, (1722) 93

                        Eng. Rep. 664 (K.B); I Str. 505. (Opinion of Chief Justice Pratt).
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        Given the excess of involvement and control exercised by Defendants’ attorneys

 throughout this matter, there is ample cause for the imposition of stiff sanctions.

        Background. The incident that involved the GMC and that gave rise to this litigation

 occurred on June 6, 2016 in Columbus, Ohio. According to the Defendants, on June 7, 2016, the

 GMC, which had been rented from Enterprise Rental, was impounded and transported to the

 Columbus Police Impound Lot and placed in a secured vehicle “processing” facility where it was

 “processed” by Columbus police detectives, after which the GMC was removed from the secure

 facility and placed on the impound lot; and thereafter Columbus police officers made arrangements

 to transport the GMC back to Enterprise. Defendants’ original Motion for Jury View of GMC

 Acadia, 10/04/21, Doc # 285, at p. 3 and Ex. A at ¶¶ 15, 17-20.

        On August 22, 2016, Plaintiff’s counsel Sean Walton and Chanda Brown served on the

 Columbus Division of Police a litigation hold letter, requesting that all evidence from the case be

 held. Id. at p. 3 and Ex. A ¶ 21. On August 31, the Columbus Division of Police recovered the

 GMC from a body shop used by Enterprise for repairs and took the GMC to the Columbus Police

 Impound Lot in a “secure vehicle processing facility.” Id. at p. 3 and Ex. A ¶¶ 22-24.

        Thereafter, Defendants were required to, and Plaintiff expected Defendants to abide by the

 litigation hold letter and make no changes to the GMC. That is, Defendants were required to

 maintain the GMC in the same condition it was in immediately after the shooting incident that

 occurred on June 6, 2016. Defendants failed to do that; and even concede that failure. In their

 original motion for a Jury View of the GMC in October 2021, Defendants concede that the

 condition of the GMC is only “substantially the same condition as it was at the time of the June 6,

 2016 gunfire exchange.” Id. at p. 3 (emphasis added). Even that concession, however, is false and

 misleading, as several of the changes are significant and fall well below “substantially the same,”

 and instead are plainly not the same at all.


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Defendants had a Duty to Preserve the Evidence.

       A party may have statutory, regulatory, or ethical duty to preserve evidence. If a party

violates the duty to preserve evidence, the party may be subject to sanctions and a spoliation

presumption instruction.      Without consequences, the duty to preserve evidence is rendered

meaningless.

       The duty to preserve evidence arises when a party knows or reasonably should know that

there is a substantial chance that a claim will be filed and that evidence in its possession will be

material and relevant to the claim. Defendants were on notice of Henry Green’s death immediately

after its occurrence and also knew immediately after the incident that Henry Green’s death was due

to being shot by Officer Zachary Rosen, and possibly Officer Jason Bare. Because parties have a

duty to preserve evidence that is relevant to a suit, it is only logical that they should be held

accountable for negligent or intentional spoliation. Allowing a court to hold a party accountable for

negligent as well as intentional spoliation is clearly consistent with the evidentiary rationale

supporting the rule because the remedy ameliorates the prejudicial effects resulting from the

unavailability of evidence.

        As such significant changes were made to the GMC Acadia (“GMC”) that are unfairly

 prejudicial to Plaintiff were made by Defendants’ experts and/or others on behalf of the Defendants

 and/or the Columbus Police Department and/or the Columbus Division of Police while the GMC

 was in the custody of the Columbus Police and the Columbus Police Impound Lot.

 The significant changes in the condition of the GMC.

       It is important to note that the significant changes and other changes to the GMC conceded

 by Defendants at the time of their October 2021 motion had already occurred, they were a fait

 accompli; and they were made unilaterally by Defendants and their support groups, i.e., the police

 and experts, with no input from or disclosure to Plaintiff. This is bad faith, plain and simple.


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           The three most significant changes to the condition of the GMC made and conceded by

    Defendants are “[1] the driver’s side mirror was detached, [2] the interior door panel was removed,

    and [3] a piece of the headliner [a/k/a weather stripping] was removed to remove bullets.”1 Id. at

    p. 3. All three of these changes were made to remove bullets for analysis by Defendants’ experts

    and fellow police officers and detectives for Defendants’ benefit, in preparation for litigation, again

    with no disclosure to, or input from Plaintiff. For the sake of brevity, the analysis here focuses on

    the first and third changes, beginning with the third, which is the most significant.

Defendants’ change to the weather stripping on the edge of the door frame of the driver’s door
is highly prejudicial to Plaintiff.

           The condition of the rubber weather stripping on the edge of the door frame of the driver’s

    door of the GMC was addressed by Defendants’ expert Mathew Noedel:

                  A fired bullet struck the weather stripping and the edge of the door frame of the
                  driver’s door. The direction of travel indicated for this damage was from inside the
                  GMC toward the outside (based on the hole in the weather stripping and the bent
                  metal underneath). No specific fired bullet was located to account for this impact and
                  no close range “stippling” was observed on the rubber weather stripping.

Mathew Noedel Report, attached as Exhibit B, at page 7 (Emphasis added). Noedel also concluded

from police photographs that the glass window of the driver’s door on the GMC was shattered. Id.

at page 3, under Bullet Path Analysis.

          Noedel confirmed his statement in the report underlined above with his testimony in the first

trial: “So there is a bullet defect, bullet impact that is on the weatherstripping just above and next to

the side view mirror that you may have seen was damaged. That damage went through the rubber

gasket and was heading outward from the inside of the door to the outside of the door.” Transcript

of Jury Trial Proceedings—Volume 4 Before the Honorable Edmund A. Sargus, Jr., United States

District Judge, November 12, 2021, Columbus Ohio (“Transcript-Volume 4”) at 123:24-124:3;



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  The other changes to the condition of the GMC conceded by Defendants are flat tires and dust on
the vehicle. Id.
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131:15-21 (Emphasis added). Underneath the language quoted above on page 7 of the report are

two related photos. The first photo shows the entire inside of the open driver’s door with an arrow

pointing where the fired bullet struck the weather stripping and door frame; and the second photo is

a close-up of the weather stripping with a bullet hole hanging down from the edge of the door frame,

which shows the bent metal. Attached as Exhibit B-1 is a blown-up version of the second photo

that more clearly shows the weather stripping hanging, the bullet hole in that weather stripping and

the bent metal of the edge of the door frame.

       Moreover, at trial Noedel further testified that:

           •   The shattered glass on the ground [street] was outside the driver’s door and came
               from the front window on the driver’s side of the GMC. Transcript—Volume 4
               133:3-16. See also two photos in Exhibit D (15 Latta Photo 26 DSC_0034-Scene
               SW view.pdf; 119 Latta Photo 27 DSC0035 – Scene W view.pdf).
           •   When asked, “On that weatherstripping, if the window was up and that shot was
               fired, would the window have shattered? Would the glass have shattered?”, Noedel
               answered “Yes.” Id. at 132:20-23.
           •   Regarding the shot fired from the inside that struck and created a hole in the weather
               stripping and dented the metal frame: “It appears that it's more or less a level shot;
               that is, the hole in the rubber gasket is not low and the dent high. They seem to be
               along the same plane.” Id. at 125:3-6.
           •   He agrees he has evidence that there was a bullet that came out [heading from the
               inside of the door to the outside] that could have shattered the window glass, but he
               has no scientific evidence of a bullet going in [from outside of the door to inside the
               door] that could shatter the window glass. Id. at 134:12-17 (Emphasis added).

       In summary, Noedel concluded that the bullet was fired from inside the GMC heading

toward the outside; that if the window was up, that bullet would have shattered the glass; that the

bullet fired was a level shot [in contrast to the shots at angles from Green’s gun]; that the driver’s

side front window glass was shattered; that the shattered glass on the street came from that front

window and was outside the open door; and that he has evidence that the fired bullet could have

and would have shattered the glass if the window were up, but he has no scientific evidence of a

bullet going from the outside of the door to the inside of the door that could shatter the glass.

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        This evidence is very significant because it is consistent with the testimony of Jamar Jordan,

an eyewitness who testified that the driver of the GMC--Defendant Zachary Rosen--shot the driver’s

side window out from inside the GMC. Transcript of Jury Trial Proceedings—Volume 2 Before

the Honorable Edmund A. Sargus, Jr., United States District Judge, November 9, 2021, Columbus

Ohio (“Transcript—Volume 2”) at 35:23-36:17. Contrary to Mr. Noedel’s and Mr. Jordan’s

testimony, Defendant Rosen testified that he did not shoot the driver’s side window out. Transcript

of Jury Trial Proceedings—Volume 3 Before the Honorable Edmund A. Sargus, Jr., United States

District Judge, November 10, 2021, Columbus Ohio (“Transcript —Volume 3”) at 84:8-12. Note

that Rosen concedes he was aiming his gun in the V between the open door and the windshield, id.

at 84:13-15, which is just an inch or so to the right of the spot on the weather stripping and door

struck by the bullet fired from inside; and Rosen was the only person at that inside position.

        Plainly, Mr. Noedel’s substantial evidence and photos--particularly the hanging weather

stripping with a bullet hole in it--coupled with Mr. Jordan’s unequivocal eyewitness testimony that

Defendant Rosen shot the driver’s side window out--make a compelling showing that Defendant

Rosen did shoot his driver’s side window out. And this has broader implications because it is strong

evidence that Officer Rosen lied under oath, that he is a liar. This showing thus undermines Rosen’s

credibility on many other critical issues in this case and that could well be dispositive for the jury.

It is a major element in this trial.

        However, as observed by counsel for Plaintiff, John Bey, at the Jury Views of the GMC on

November 9 and 12, 2021, the Defendants’ change made to the weather stripping was to push the

stripping back into the edge of the door frame, so that the weather stripping was not hanging and

the bullet hole in the weather stripping could not be seen. Thus, the two key features evidencing

what happened--as shown by Defendants’ expert Noedel--have been eliminated.

        For this reason alone, the court should grant Plaintiff’s Motion.


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Defendants’ change by detaching the driver’s side mirror on the GMC

       Photographs taken of the GMC right after the incident and right after the GMC was taken

into custody by Columbus Police Impound Lot, but before “processing”, show that the driver’s side

mirror was intact and fully assembled, and show cracks at the bottom front of the mirror’s cover

caused by a fired bullet. See two photos in Exhibit C attached hereto (195 Shoaf Photo 06

LAS_0006; and 119 Latta Photo 27 DSC_0035).

       As observed by counsel for Plaintiff, John Bey, at the Jury Views of the GMC on November

9 and 12, 2021, however, the Defendants had removed the entire cover of the mirror, top to bottom,

making it appear, falsely, as though a bullet had shot off the entire mirror cover, and resulted in a

much more dramatic effect to the viewing and not simply the facts. For this reason alone, the court

should grant Plaintiff’s Motion.

                                             SANCTIONS

       Rule 37 Federal Rule of Civil Procedure 37 “provides a district court with authority to impose

sanctions, including dismissal, on a party for abuse of the discovery process.” Goodman v. New

Horizons Cmty. Serv. Bd., No. 05-14717, 2006 WL 940646, at *1 (11th Cir. 2006) (citing Phipps v.

Blakeney, 8 F.3d 788, 790 (11th Cir. 1993)). “A court may impose sanctions where a party fails to

provide answers, objections, or a written response to interrogatories or requests for production.”

Steed, 308 F. App’x at 370 (citing Fed. R. Civ. P. 37(d)(1)(A)(ii)). Sanctions under Rule 37 can

include: (1) payment of reasonable expenses the discovery failure caused; (2) establishing facts as

the prevailing party claims; (3) preventing the disobedient party from objecting to established claims

or presenting certain matters into evidence; (4) striking the pleadings partially or entirely; (5) staying

the proceeding until the disobedient party complies with the order; (6) dismissing the action or

proceeding partially or entirely; and (7) entering a default judgment against the disobedient party. Id.

(citing Fed. R. Civ. P. 37(d)(3)). Rule 37(c) provides that a party that fails without substantial


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justification to disclose evidence under Rule 26(a) or Rule 26(e)(1) shall not be allowed to use that

evidence “at a trial, at a hearing, or on a motion.” Stallworth v. E-Z Serve Convenience Stores, 199

F.R.D. 366, 368 (M.D. Ala. 2001). The non-disclosing party has the burden of proving its actions

were either substantially justified or harmless. Id. (citation omitted); see also Crawford v. ITW Food

Equip. Grp., 977 F.3d 1331, 1341 (11th Cir. 2020). Courts may also impose sanctions under their

inherent authority “to police those appearing before them.” Purchasing Power, LLC, 851 F.3d at 1223

(citation omitted). This inherent power “is governed . . . by the control necessarily vested in courts

to manage their own affairs so as to achieve the orderly and expeditious disposition of cases.” Id. The

inherent sanction power “must be exercised with restraint and discretion” to impose appropriate

sanctions for litigation misconduct. Id. A court may exercise its inherent sanctions power “to sanction

the willful disobedience of a court order, and to sanction a party who has acted in bad faith,

vexatiously, wantonly, or for oppressive reasons.” Id. (citation omitted). Courts’ inherent powers are

based on a subjective bad-faith standard. Id. Subjective bad faith that unlocks a court’s inherent

sanctions power requires more than mere recklessness. Courts unsure of whether to sanction a party

pursuant to inherent powers look to Chambers v. NASCO, Inc., 501 U.S. 32 (1991). Id. There, the

Supreme Court established that the sanctions “power is not a remedy for protracted litigation; it is

for rectifying disobedience, regardless of whether such disobedience interfered with the conduct of

the trial.” Id. (citing Chambers, 501 U.S. at 44). “Courts considering whether to impose sanctions

under their inherent power should look for disobedience and be guided by the purpose of vindicating

judicial authority.” Id. Here, the facts that Defendants clearly allowed the GMC Acadia to be altered

after they knew, or should have known, there would be litigation in this matter and after they received

a spoliation notice from Plaintiff’s counsel, would warrant sanctions under Rule 37. See O’Berry v.

Turner, Nos. 7:15-CV-00064-HL, 7:15-CV-00075-HL, 2016 WL 1700403, at *2, 4 (M.D. Ga. Apr.

27, 2016) (finding Rule 37 sanctions appropriate where defendant failed to maintain relevant


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documents while the documents were in its sole possession and delayed contact with its “loss control

manager” about the documents and a request for copies of them, despite plaintiff’s counsel’s

numerous requests for the documents). Rule 37 further allows the Court to order Defendants to pay

costs. Therefore Plaintiff requests that this Court sanction Defendants for the spoliation of material

evidence and award her all fees and costs incurred in connection with the filing of this Motion and

to deter Defendants from further acts spoliation; and order the submission of a spoliation presumption

instruction to the jury at the time of trial.



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                                   CERTIFICATE OF SERVICE

          I hereby certify that, on April 13, 2022, I electronically filed the foregoing with the Clerk

  of the Court by using this Court’s e-Filing System, which will send a notice of this electronicfiling

  to all counsel of record in this matter.

        Respectfully submitted this 13th day of April 2022.

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